               Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 1 of 37



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10
     Employees for Plaintiffs and Proposed Class,
11
     GALENA GOINS, SONIA LOPEZ, and TERRY A. JONES-JACKSON
12

13                                UNITED STATES DISTIRCT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15

16
     GALENA GOINS, SONIA LOPEZ, TERRY                Case No.:
     A. JONES-JACKSON ON BEHALF OF
17   THEMSELVES AND ALL OTHERS                       CLASS AND COLLECTIVE ACTION
     SIMILARLY SITUATED,                             COMPLAINT
18

19
                    Plaintiffs,

20                  vs.
21   UNITED PARCEL SERVICE, INC.,
22
     RICARDO MORENO
                                                     JURY TRIAL DEMANDED
23                  Defendants

24

25          Plaintiffs, GALENA GOINS, SONIA LOPEZ, and TERRY A. JONES-JACKSON
26   (“Plaintiffs” or “Class Representatives”), by and through their employees, M. Alieu Iscandari and

27   Tiega-Noel Varlack, bring this action on behalf of themselves and all similarly situated employees
     against Defendants, United Parcel Service, Inc. And Ricardo Moreno Plaintiffs allege, upon
28



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     CLASS AND COLLECTIVE ACTION COMPLAINT
                 Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 2 of 37



1    knowledge as to themselves and otherwise upon information and belief, that Defendant engages
2    in systemic discrimination based on gender, age and disability as follows:
3

4
            I.       INTRODUCTION

5
        1. Defendant, United Parcel Service, Inc., (“Defendant,” “UPS”), is an American
6
            multinational package delivery and supply chain management company. UPS hires
7
            employs approximately 444,000 staff: 362,000 in the U.S. and 82,000 internationally.
8
            UPS specializes in the time-definite delivery of packages and documents domestically
9           and worldwide. In recent years, UPS has extended its service portfolio to include less
10          than truckload (LTL) transportation (primarily in the U.S.) and supply chain services.
11          UPS reports its operations in three segments: U.S. Domestic Package operations,
12          International Package operations, and Supply Chain & Freight operations. UPS operates

13
            over 119,000 delivery vehicles worldwide, ranging from bicycles to tractor-trailer trucks.
            In a long-running company policy to avoid advertisement or endorsement of a vehicle
14
            manufacturer, all external manufacturer emblems and badging are removed when a
15
            vehicle enters service (whenever possible). In recent years, UPS has been criticized for its
16
            treatment of its workforce, including providing inadequate protections and sick leave
17
            during the COVID-19 pandemic.
18      2. Defendant, Ricardo Moreno, is a coordinator at the Oakland Hub, who is the chief
19          harasser, and retaliator in charge of small sort, who recruits other supervisors to sabotage
20          women, he singles out the women on his shift who he feels are to feminine to do
21          additional work, he assigns supervisors to work in violation of company policy to take

22
            away time on the clock that the women employees would otherwise earn, he has a pattern
            of harassment and discrimination against women stemming from his time at the San
23
            Bruno Hub.
24
           3. At UPS, female employees who work are forced to work in the back while the men
25
                 work in the front in violation of the company’s seniority rules, women are routinely
26
                 denied opportunities for advancement and higher pay. UPS’ standard operating
27               procedure is to hold back women from supervisory roles, full-time and overtime
28               opportunities, regardless of their performance.


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     CLASS AND COLLECTIVE ACTION COMPLAINT
                Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 3 of 37



1            4. UPS fails to pay these women on par with their seniority and, by holding them back,
2               creates a lasting stain on their careers.
3            5. Working under a double standard, women report to work unsure of their position and

4
                whether they will get bumped from their permanent positions despite their seniority, in
                this way women are forced to prove their commitment to UPS in a way no one else is.
5
                They risk isolation, being forced to work in areas with flows too heavy for one person,
6
                and even being pushed out of their section if they do not meet the new, and impossibly
7
                high, standards that are set for them if they dare to complain about the unequal treatment.
8
             6. UPS’ policies and practices are emblematic of the “old boys’ club” that permeates
9               corporate culture, suppresses female advancement, and stereotypes women. When
10              female employees complain about workplace culture, they are punished in the ways
11              described above.
12      7.    Today women make up more than half of our country’s workforce. Enforcing a double

13
             standard in the workplace not only pits men against women but also causes financial
             harm and results in social consequences for women and the workplace. Historically
14
             women in the workplace have faced discrimination due to their age, their gender, and
15
             even their status as mothers. Due to societal norms the gender role for women is largely
16
             based the stereotype that women are nice, kind and passionate but by contrast leadership
17
             roles in the workplace expect a leader to take charge, demonstrate toughness, make tough
18           decisions, and be very assertive to complete the task at hand. When women are viewed
19           through the warped lens of gender bias in the workplace, their true commitment and
20           output often become irrelevant. Consigned to the idea that women are supposed to be
21           gentle and nice, women in the workplace are steered away from the opportunities for

22
             professional development that would permit them to reach the same levels of pay and
             promotion as their male colleagues.
23
        8. At UPS the opportunities for women usually lead to a dead end. Women are routinely
24
             prevented from advancing to higher positions within UPS, while at the same time the
25
             company forces women to work harder to prove their dedication to the company and
26
             setting unreasonably high expectations for them. Those who avail themselves of the
27           company’s paid time off or flexible work schedule policy- which permits employees to
28           work part-time to care for family, purportedly without fear or repercussions for their


                                                        3
     CLASS AND COLLECTIVE ACTION COMPLAINT
               Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 4 of 37



1          career – are particularly vulnerable. Adding insult to injury women are often denied even
2          the chance to meet the company’s expectations when they return from leave, and often
3          times find themselves without sufficient work to meet employee expectation.

4
        9. Women in the work already face significant challenges based on their gender.
        10. Gender inequality in the workplace is a multifaceted phenomenon that is demonstrated
5
           through organizational structures, processes, and practices. For women some of the most
6
           severe inequalities are enacted within human resources practices. This is because HR
7
           practices affect hiring, training, pay and protection of women, such as policies, decision-
8
           making and enactment of those decisions. Gender Discrimination in the workplace,
9          specifically in HR related decision-making, stems from gender inequalities in broader
10         organizational structures, processes, and practices which include leadership, structure,
11         culture, strategy, organizational climate, as well HR policies. It is also important to note
12         that institutional discrimination in organizational structure processes, and practices, play

13
           an eminent role because they affect HR practices and also provide a socializing context for
           organizational decision makers’ level of adverse and benevolent sexism.
14
        11. Upon information and belief, UPS has long been aware of these problems but has failed
15
           to take remedial measures to prevent or correct them.
16
        12. To remedy the gender, age and disability discrimination they witnessed and experienced at
17
           UPS, Plaintiffs and the class are seeking all legal and equitable relief available under
18         state and federal anti-discrimination, equal pay, and retaliation statutes, including Title
19         VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000(e) et seq., as amended; the Equal
20         Pay Act of 1963, 29 U.S.C. § 201 et seq.; the California Equal Pay Act, Cal. Lab. Code §
21         1197.5; the California Fair Employment and Housing Act, (“FEHA”), Cal. Gov. Code §

22         12940 et seq. Plaintiffs seek monetary and injunctive relief to rectify UPS’ discriminatory
           practices and policies and to ensure that, going forward, UPS abides by the law.
23

24                II.    THE PARTIES
25
        13. Plaintiff, Galena Goins is a woman who, at all times relevant to this action, lived and
26
           worked in California. At present, Galena Goins is an employee employed the UPS Hub
27

28



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     CLASS AND COLLECTIVE ACTION COMPLAINT
              Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 5 of 37



1            in Oakland, in the Small Sort Area.
2         14. Plaintiff, Sonia Lopez is a woman who, at all times relevant to this action, lived and
3            worked in California. At present, Sonia Lopez is an employee employed the UPS Hub

4
             in Oakland, in the Small Sort Area.
          15. Plaintiff Terry A. Jones-Jackson is a woman who, at all times relevant to this action,
5
             lived and worked in California. At present, Terry A. Jones-Jackson is an employee the
6
             UPS Hub in Oakland, in the Small Sort Area.
7

8

9
     Number Our clients                                   Age          Start Date at UPS
     1.        Galena Goins                               59           August 31, 1999
10
     2.        Sonia Lopez                                45           October 21, 1999
11
     3.        Terry A. Jones-Jackson                     54           January 01, 1999
12

13               III.    JURISDICTION AND VENUE

14
          16. This Court has subject matter jurisdiction over this suit pursuant to 28 U.S.C. § 1331
15           and has supplemental jurisdiction over Plaintiffs’ state law claims. The claims
16           constitute the same case and controversy raised in the claims under federal law.
17        17. The Northern District of California has personal jurisdiction over the UPS and by

18           extension Moreno because UPS transacts significant business in the State of California
             and in this District.
19
          18. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and 42 U.S.C. §
20
             2000e-5 (f) because Defendant conducts substantial business in the Northern District
21
             of California, and because, upon information and belief, unlawful employment
22
             practices originated in this District.
23
          19. Plaintiffs duly filed their administrative charges before the California Department of
24           Fair Employment and Housing (“DFEH”) and the U.S. Equal Employment Opportunity
25           Commission (“EEOC”) on (Goins) November 20, 2020 and received a right to sue on
26           August 26, 2021, (Lopez) filed on September 8, 2020, and received a right to

27           sue on August 23, 2021, (Jones-Jackson) filed on October 5, 2021 and received her
             right to sue the same day. (Exhibits A-C)
28



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     CLASS AND COLLECTIVE ACTION COMPLAINT
              Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 6 of 37



1                IV.    FACTUAL ALLEGATIONS
2
                       A. What Happened When You are a Women with Seniority: UPS
3                         Routinely Holds Back Women Who appear outwardly feminine and
                          are over the age of 40.
4
          20. Outwardly feminine women, even those who are considered the “best,” are not safe at
5            UPS. Indeed, these women are strikingly absent from the upper ranks of management
6            to understand what happens to high-performing women at UPS.
7         21. UPS boasts of its “EQUAL OPPORTUNITIES” for employees, including the promise

8            that all are treated with respect. But in reality, they do not respect women, instead they
             take younger employees and allow them to work double shifts when plaintiffs had to
9
             struggle for years to get the same hours. Further, the older women are forced to wait
10
             in an area until they are told where to go while younger employees are allowed to go
11
             straight to the work area of their choosing. With respect to Moreno and his gender
12
             discrimination, it is common knowledge that he prefers men, and he carries out his
13
             preference by picking all men who previously worked in the San Bruno Hub to work
14           in his area. These areas are supposed to be left for people such as plaintiffs who have
15           high seniority, each having at least 22 years at the company.
16        22. UPS discriminates against Plaintiffs and other female employees, especially those over

17           the age of forty, by denying opportunities for greater pay and limiting progression. UPS
             reinforces stereotypes that older women are worse at and less committed to their jobs
18
             and sets in motion a chain of events that leads to a dead end. When they seek additional
19
             shifts, they are denied extra shift assignments or if given an additional shift the women’s
20
             time is stolen through false reporting, being sent home early, and being told to clock
21
             out if they stand idle whereas men are allowed to stand around and remain on the clock
22
             until they decide to clock out.
23        23. The stereotype becomes self-reinforcing, and women become stuck. They now face
24           a Hobson’s choice: stay in an assigned shift in an area that they are told to go in violation
25           of seniority, or face intimidation, menacing stares, wage theft and retaliatory staffing.

26        24. In some cases, female employees are not even given the courtesy of receiving
             notification that a new job will open. Only through checking on the Board, after the
27
             position is filled, do they find the news: despite meeting expectations, or even stellar
28
             performance, they will not be progressing with their peers.

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     CLASS AND COLLECTIVE ACTION COMPLAINT
              Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 7 of 37



1         25. Men, in general, are not subjected to the same unlawful practices.
2
          B. UPS’ Male-Dominated Hierarchy Sets Policies that Disparately Impact
3            Disabled Women who can Still Perform Their Jobs with an Accommodation
4         26. Men dominate UPS’ leadership and management
5         27. Promotion and compensation decisions at UPS are controlled by male management.
6         28. UPS discriminates against women by permitting its predominantly male leadership

7
             to favor men overtly in pay, promotions, and other opportunities regardless of their
             qualifications and to otherwise discriminate against women, especially those over 40.
8
             UPS leadership fosters or condones a culture that marginalizes, demeans, and
9
             undervalues women and mothers.
10
          29. UPS’ leadership is aware of its inequitable promotion, pay, job assignment, and other
11
             practices but have taken no steps to remedy the root causes of the disparity. Defendant
12           is aware of the demographics of its workforce, including the underrepresentation of
13           women in different levels and functions.
14        30. Defendant is aware of its own misconduct, but it has failed to rectify the discrimination.
15
                 V.      PLAINTIFF, GALENA GOINS
16

17
          31. Plaintiff, Galena Goins currently works in one of UPS’ California offices.
18
          32. On or about August 31, 1999, Plaintiff, Galena Goins joined UPS as a hub sorter and
19
             loader/unloader.
20
          33. Ms. Goins excelled at her duties at the UPS many several years.
21
           A. Joining Ups: When Ms. Goins started, she was an unloader, and she would finish
22            three to four trucks a night, because she was so fast. Drake and other supervisors
23            recognized her as a leader.

24        34. From 1999 to 2011, Ms. Goins worked in loading and unloading and eventually moved
             to small sort after her supervisor verbally assaulted her and she complained to his
25
             supervisor, Drake Holloman.
26
          35. Slowly Drake moved Ms. Goins to small sort on a nightly basis, based on her good
27
             performance, but it was not permanent until about two months later this was 2012.
28
             Believing that Drake would protect her from further acts of aggression, Ms. Goins joined


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     CLASS AND COLLECTIVE ACTION COMPLAINT
              Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 8 of 37



1            small sort as a permanent assignment.
2         36. Ms. Goins continued in this role for some time until the HUB closed in 2017 for
3            remodeling, after it reopened in 2018, the San Bruno Hub joined the Oakland Hub came

4
             in January 2018. Ms. Goins had no history of performance issues, nor had she ever
             been held back previously during her time at UPS.
5
          37. Ms. Goins has been employed at UPS for over 20 years. She has seniority and is
6
             entitled to receive preference to work less strenuous jobs.
7
          38. Ms. Goins also has had two knee replacements and periodically needs to take off from
8
             work due to her knees going out and her back pain.
9         39. From March 2018 to present Ms. Goins has been denied the interactive process and
10           reasonable accommodation based on her disability. From March 2018 to the present,
11           she requested to be placed in the Sorting area and a pad to walk on due to her disability;
12           however, her accommodation was denied.

13
          40. The location involved was the Oakland hub, where Plaintiffs all had higher seniority
             then the men that took over or attempted to take over their jobs and this violated the
14
             CBA. Upon information and belief, the key difference between the members who
15
             progressed, and Ms. Goins status as a woman who had disability issues.
16

17         B. UPS Retaliation against Plaintiff, Galena Goins Due to her Gender, Age, and
              Disability
18
          41. In January of 2019, a group of workers from the San Bruno hub moved to the Oakland
19
             hub where Plaintiff is employed.
20
          42. The supervisors in the group wanted to replace Ms. Goins because she had a better
21
             position in small sort.
22

23        43. Supervisor Ricardo Moreno began to harass Ms. Goins to try and force her out of her

24           jobs because he wanted it to go to his friend, a male with less seniority. So, he would

25
             pile on extra work and dump bags onto the ground, stand behind her and force her to
             work faster. He would yell and scream for Ms. Goins to take her ass back to small sort.
26

27        44. He would only do this because she was African American, over 40 and a woman. Ms.
28           Goins also witnessed sexual harassment.



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     CLASS AND COLLECTIVE ACTION COMPLAINT
              Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 9 of 37



1         45. Connor O’Reilly another supervisor always asks for hugs from younger women who
2             work at the hub and wear see through clothes. Ms. Goins has seen him stare like he is
3             looking through clothing of women.

4
          46. This kind of discriminatory conduct based on Plaintiff, Galena Goins’ gender, age,
5             and disability were not limited to Supervisor Ricardo Moreno. Another supervisor
6             Connor O’ Reilly always treated less favorably because Plaintiff, Galena Goins does
7             not wear see through clothes and is middle aged.

8
          47. Retaliation:
9                 a. Letter dated April 12, 2019:
10                   Official warning for failure to follow proper load methods.
                  b. Letter dated May 6, 2019:
11
                     Official warning for failure to follow proper load methods.
12                c. Letter dated November 14, 2019:
                  d. Official discharge of gross insubordination and inappropriate conduct in the
13
                     workplace and failure to follow instructions.
14                e. Plaintiff was placed in an area that inflamed her knees and she had to refuse
                     work because of the danger that assignment caused to the viability of her knees.
15

16          C. UPS Unfairly Evaluated Plaintiff, Galena Goins performance because of her
            Gender, Age and Disability
17
          48. In January of 2019, a group of workers from the San Bruno hub moved to the Oakland
18
              hub where Plaintiff is employed.
19
          49. The supervisors in the group wanted to replace Ms. Goins because she had a better
20
              position in small sort. As a result, Ricardo Moreno began to harass Ms. Goins to try
21            and force her out of her jobs because he wanted it to go to his friend, a male with less
22            seniority. So, he would pile on extra work and dump bags onto the ground, stand
23            behind her and force her to work faster.

24        50. From January 2019 to the present, she has been subjected to differential treatment based
              on her sex/gender (female) and age (58). From January 2019 to the present Ricardo
25
              Moreno assigns her extra duties and heavier work moved her from the back are to the
26
              bagging area and does not provide her help. Younger male co-workers are not treated
27
              in the same manner.
28
          51. On or about April 12, 2019, Plaintiff, Galena Goins got a letter as retaliation - Official


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     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 10 of 37



1             warning for failure to follow proper load methods.
2         52. On or about May 6, 2019, Plaintiff, Galena Goins got another letter as retaliation -
3             Official warning for failure to follow proper load methods.

4
          53. Plaintiff was placed in an area that inflamed her knees and she had to refuse work
              because of the danger that assignment caused to the viability of her knees.
5
          54. On or about November 14, 2019, Plaintiff, Galena Goins got a letter as retaliation -
6
              Official discharge of gross insubordination and inappropriate conduct in the workplace
7
              and failure to follow instructions.
8
          55. Supervisor Ricardo Moreno would only do this because Ms. Goins was African
9             American, over 40 and a woman with disability issues, and because she reported him
10            to the state of California.
11

12          D. “Ramp Up” Your Efforts: Following her disability issues, UPS Denied any
            Employment Benefit or Privilege to Plaintiff, Galena Goins.
13
          56. Ms. Goins never had performance issues, moreover supervisors recognized her as a
14
              leader.
15
          57. In January of 2019, a group of workers from UPS’ San Bruno Hub moved to the
16
              Oakland Hub where plaintiffs work.           At Oakland hub Plaintiff, Galena Goins had
17
              higher seniority then the men that took over or attempted to take over the job.
18        58. In September 2020 Goins was subjected to differential treatment based on her
19            sex/gender (female) and age (58).
20        59. In September 2020 Ms. Goins was evaluated three times in one month and written due
21            to work performance.

22
          60. Ms. Goins aware that male co-workers are not evaluated three times in a month.
          61. In September 2020 Ms. Goins work hours were reduced by 1-2 hours per shift.
23
          62. Ms. Goins aware that younger male co-workers’ hours have not been reduced.
24
          63. In response to this unrealistic expectation, Ms. Goins requested for grievance investigation.
25
          64. Mr. Marcus stands behind Ms. Goins and force her to work faster. He has been writing
26
              fake reports regarding Ms. Goins. Ms. Goins supervisors would not allow her to
27            meet her hourly requirements. Ms. Goins work hours were reduced by 1-2 hours per
28            shift.


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     CLASS AND COLLECTIVE ACTION COMPLAINT
                 Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 11 of 37



1           65. Galena Goins Grievances timeline:
2

3    No.        Date                   Subject         Type

4          1.   October 21, 2020       Harassment      Marcus made false claim about my work
           2.   October 20, 2020       Harassment      Ricardo claims I am not working fast enough
5
           3.   October 13, 2020       Harassment/     Forced to switch job area
6
                                       retaliation
7          4.   October 7, 2020        Harassment      Marcus made false/unprovoked write UPS

8          5.   October 7, 2020        Harassment      Marcus false write up/I requested meeting
           6.   October 5, 2020        Harassment      Marcus unnecessary & unprovoked
9
                                                       observation of my work
10         7.   September 22, 2020     Harassment      Marcus forced heavy workload on me

11         8.   September 21, 2020     Harassment      Marcus contradicting work instructions

12         9.   September 18, 2020     Harassment      Marcus claims I am not working fast enough
           10. September 16, 2020      Harassment      Marcus claims I am not working fast enough
13
           11. September 12, 2020      Harassment      Marcus unprovoked & false write up
14

15

16
            66. Ms. Goins has sought, but UPS has failed to provide, any substantive guidance or
17
                 development plan to meet the hours requirements imposed upon her in light of
18               the dearth of work opportunities she faces. Instead, Ms. Goins is being pushed out.
19
                    VI.     PLAINTIFF, SONIA LOPEZ
20

21          67. Plaintiff, Sonia Lopez currently works in one of UPS’ California offices.
            68. On or about October 21, 1999, Plaintiff, Sonia Lopez joined UPS as a bagger.
22
            69. Since joining UPS, Sonia Lopez has excelled in her job duties at UPS. She has been a
23
                 committed employee and involved in many UPS initiatives.
24

25
                A. UPS Employee Conner O’Reilly Sexually Harassed Plaintiff, Sonia Lopez as a
26
                Bystander
27

28          70. Supervisor, Conner O’Reilly sexually harassed other women in front of Ms. Lopez.


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     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 12 of 37



1            The harassment is visual and verbal in nature.
2         71. Since April 2018, Mr. O’Reilly would frequently leer at other female co-workers and
3            positioned himself in order to peer under their clothing.

4
          72. Ms. Lopez has reported the harassment to the DFEH in June 2020, but no actions were
             taken.
5
          73. The harassment continued and created a hostile work environment for Ms. Lopez.
6
          74. This was not rectified also, after Sonia Lopez’ colleagues, Galena Goins and Terry A.
7
             Jones-Jackson, raised the issue with the DFEH.
8
          75. Ms. Lopez was berated by her male supervisors Connor O’Reilly and Ricardo Moreno;
9            was followed around her job and forced to work in unsafe environments.
10        76. When she complained, her harassers were simply moved to other departments, and she
11           was retaliated against by having her work compromised and the destinations of her
12           packages changed.

13
           B. UPS discriminated Plaintiff, Sonia Lopez Denied Work Opportunities or
14
           Assignments based on her A g e , Gender, and Race
15
          77. Ms. Lopez had no history of performance issues, nor had she ever been held back
16
             previously during her time at UPS.
17
          78. Ms. Lopez is 45 years old and was subjected to disparate treatment by her employer
18           UPS.
19        79. The disparate treatments include but not limited to consistently made to work faster
20           and was assigned heavier jobs despite having more seniority.
21        80. She was also required to clean up areas that she is not responsible for.

22
          81. Ms. Lopez had been forced to end her shift prematurely several times and most recently
             on June 12, 2020.
23
          82. Ms. Lopez aware that her younger co-workers and male co-workers in general were
24
             not treated similarly. She believes that she was discriminated based on her age and
25
             gender.
26
          83. Throughout her tenure at UPS, Sonia Lopez has never had problems with her
27           performance. In fact, she has never been written up.
28         C. UPS Discriminated against Plaintiff, Sonia Lopez was Harassed based on her


                                                    12
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 13 of 37



1          Disability.
2         84. Ms. Lopez has been harassed repeatedly since returning from medical leave after a
3            shoulder injury.

4
          85. On or about June 19, 2020, Ms. Lopez requested to be moved to other areas that
             requires less heavy lifting due to her previous work injury.
5
          86. Ms. Lopez was not given the interactive process and her request was ignored.
6
          87. She was prevented from going to a “small sort” department and forced to work
7
             “outbound” loads despite her injury.
8
          88. This was not the first time UPS discriminated against her due to her disability.
9         89. Ms. Lopez believes that she was discriminated and denied reasonable accommodation
10           for her disability.
11        90. Males at UPS have not experienced the same discrimination as to female workers in
12           the group.

13
             D. UPS Retaliation against Plaintiff, Sonia Lopez
          91. Ms. Lopez job description stated that she was not to lift over 25 lbs.
14
          92. Although Ms. Lopez was able to return to work, she is restricted to lift heavy weights
15
             overhead.
16
          93. According to her doctor’s note:
17
             a) No lifting greater than 10 pounds right upper extremity.
18           b) No lifting greater than 5 pounds overhead.
19           c) 10-minute break every hour.
20        94. But after filing grievances she was placed on irregulars, which are 70lbs or over big
21           boxes or very small and over 100 lbs. she cannot flip these.

22
          95. This was done to retaliate against her. Ms. Lopez believes that she was discriminated
             and denied reasonable accommodation for her disability.
23

24

25                VII. PLAINTIFF, TERRY A. JONES-JACKSON

26
          96. Plaintiff, Terry A. Jones-Jackson currently works in one of UPS’ California offices.
27        97. On or about January 1, 1999, Plaintiff, Terry A. Jones-Jackson joined UPS as a hub
28           sorter and loader/unloader.


                                                    13
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 14 of 37



1         98. Since joining UPS, Terry A. Jones-Jackson has excelled in her job duties.
2

3          A. UPS discriminated against Plaintiff, Terry A. Jones-Jackson for Equal Pay Due
           to her Gender, Age, and Disability.
4
          99. Plaintiff, Terry A. Jones-Jackson has been employed at UPS for over 20 years. She
5
             has seniority and is entitled to receive Equal Pay as male sorter of same seniority.
6
          100.   On or about December 2018, Terry A. Jones-Jackson discovered that her salary no
7
             longer matched up to her as her male colleagues; she had not been promoted with her
8
             peers, nor had she received the corresponding salary increase that should have
9            accompanied her anticipated promotion.
10        101.   Terry A. Jones-Jackson had no history of performance issues, nor had she ever been
11           held back previously during her time at UPS.
12        102.   Plaintiff, Terry A. Jones-Jackson was denied equal pay based on her gender.

13
          103.   Upon information and belief, within Terry A. Jones-Jackson office alone, more
             male colleagues in the same office were advanced with Terry A. Jones-Jackson’s
14
             seniority and received the corresponding pay increase. Upon information and belief,
15
             the key difference between the males who got paid more, and Terry A. Jones-Jackson
16
             was Ms. Jones-Jackson’s status as a woman and African American, over forty.
17

18         B. UPS discriminated Plaintiff, Terry A. Jones-Jackson’s Denied any Employment
19
           Benefit or privileges due to her Gender and Race.

20        104.   Plaintiff, Terry A. Jones-Jackson has been employed at UPS for over 20 years. She
21           has seniority and is entitled o receive preference to pick rom the jobs that are available.

22
          105.   Terry A. Jones-Jackson had a better position in small sort work area. She had been
             in that position for two years.
23
          106.   In January of 2019, a group of workers from the San Bruno Hub moved to the
24
             Oakland Hub where Plaintiff, Ms. Jones-Jackson was employed. The supervisors in
25
             the group wanted to replace Ms. Jones-Jackson because she had a better lighter position
26
             in small sort.
27        107.   They end up moving Ms. Jones-Jackson from this position. They did this because
28           Ms. Jones-Jackson is a female and African American.


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     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 15 of 37



1         108.   The supervisor assigns to drag every heavy bag to printer and placed tag on it. Ms.
2            Jones-Jackson never had a problem with labels. Those bags are heavy over 50 pounds
3            and need to drag them to printer each time on the twilight. Ms. Jones-Jackson’s health

4
             is deteriorated because of this shift.
          109.   Ms. Jones-Jackson later figured out that the other workers are having problems
5
             placing tags on the bags and tough to drag those heavy bags. Many other workers also
6
             refused to work on the twilight.
7
          110.   Based on her seniority Ms. Jones-Jackson can pick from the jobs that are available.
8
             But Ms. Jones-Jackson was allocated this shift and job. Ms. Jones-Jackson was
9            threatened to send her home. Supervisors told Ms. Jones-Jackson, if she does not drag
10           those heavy bags, she won’t be able to work on this shift.
11         111. Ms. Jones-Jackson was always singled out at work.
12

13
           C. UPS discriminated Plaintiff, Terry A. Jones-Jackson Denied Work Opportunities
           or Assignments Due to her Gender and Race.
14
          112.   On or about January 2019 to February 2020 Ms. Jones-Jackson was denied Work
15
             Opportunities based on her gender.
16
          113.   Ms. Jones-Jackson’s supervisor told, if he needed help in, he would call Ms. Jones-
17
             Jackson.
18        114.   Ms. Jones-Jackson know that they go by seniority and employees also need to be
19           on time for the shift.
20        115.   On Friday January 8, 2019 twilight started at 3:30 p.m. Ms. Jones-Jackson did not
21           get a call or text to work. She was told that another employee already came in. But

22
             the other employee (who is a male) arrived at 5:45 whereas the shift starts at 3:30 p.m.
          116.   When Ms. Jones-Jackson checked about her shift, she was told that she needs to be
23
             on time if she wants to do double shift.
24
          117.   The management denied Ms. Jones-Jackson the opportunity to work overtime,
25
             while a male sorter with same seniority was allowed to work overtime.
26
          118.   Upon information and belief, male colleagues were given preference and excused
27           from being on time to shift.
28



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     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 16 of 37



1          D. UPS Employee Connor O’Reilly Sexually Harassed Plaintiff, Terry A. Jones-
           Jackson Due to Age and Gender
2

3         119.   From on or about January 2019 to date Ms. Jones-Jackson have been subjected to

4
             sexual harassment-hostile work environment by manager Connor O’Reilly.
          120.   Ms. Jones-Jackson also witnessed sexual harassment.
5
          121.   During the period Ms. Jones-Jackson observed Mr. O’Reilly stare at females who
6
             wear see-through clothes and tight pants.
7
          122.   He always asks for hugs from younger women who work at hub and wear see
8
             through clothes on a daily basis which created a hostile environment.
9         123.   As a supervisor Mr. O’Reilly treated Ms. Jones-Jackson less favorably because she
10           does not wear see through clothes and is middle aged.
11        124.   UPS tries to steal Ms. Jones-Jackson’s time by having supervisors work when they
12           re not supposed to work.

13
          125.   UPS send in supervisors to work to finish the jobs to send women home earlier, at
             a rate of thirty (30) minutes a shift.
14

15
             E. UPS discriminated against Plaintiff, Terry A. Jones-Jackson Denied Work
16           Opportunities or Assignments Due to her Race and Gender.
17
          126.   On or about January 2019 to date Ms. Jones-Jackson have been denied Work
18           Opportunities or Assignments based on sexual harassment-hostile work environment.
19        127.   UPS engaged supervisors who are fair and discriminate against employees because
20           of Age and Race.
21        128.   Supervisors have made her lose income by letting low seniority employees work

22
             while not allowing Ms. Jones-Jackson to work.
          129.   UPS should not be able to terminate employees without approval of union. Jones-
23
             Jackson has been terminated twice, one time while she was on vacation.
24
          130.   When they fired Ms. Jones-Jackson, they disconnected her UPS stock withdrawal
25
             to buy stock & it has been that way since 2017.
26
          131.   UPS never paid Ms. Jones-Jackson for all the grievances through the years.
27        132.   UPS stole a 1:00 hour off Ms. Jones-Jackson’s pay and never gave her back pay.
28        133.   They hired low seniority employees and gave them full times jobs and Ms. Jones-


                                                      16
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 17 of 37



1            Jackson is still part time and but has more seniority. They have been at the Oakland
2            hub (low seniority employees with full time jobs) going on two years.
3         134.     Manager Jimmy and Robin removed Ms. Jones-Jackson from Small Sort group.

4
          135.     Supervisor Connor O’Reilly removed Ms. Jones-Jackson from small sort
             assignment and replaced her with females he stares at who wear see-through clothes
5
             and tight pants, and whom he asks for hugs.
6

7
             F. UPS Retaliation against Plaintiff, Terry A. Jones-Jackson
8

9         136.     Ms. Jones-Jackson started at UPS from January 1, 1999 and she has been employed
10           at UPS for over 20 years.
11        137.     Although Ms. Jones-Jackson going to complete 22 years with UPS, the supervisors
12           always discriminated against her.

13
          138.     Retaliation:
                 a. Letter dated July 10, 2017:
14
                    Official warning for undependability.
15               b. Letter dated April 10, 2018:
                    Official warning for failure to follow proper load methods.
16

17
                 c. Letter dated March 05, 2019:
                    Official warning for undependability.
18               d. Letter dated April 05, 2019:
19
                    Official warning for failure to follow instructions.
                 e. Letter dated April 10, 2019:
20               f. Official warning for failure to follow instructions.
21               g. Terminated twice and rehired.
                 h. Given less pay than male counterpart.
22

23                                      CLASS AND COLLECTIVE ALLEGATIONS
24

25        139.     Plaintiffs incorporate allegations from the previous paragraphs of the Complaint

26           alleging class-based discrimination against female employees, who are over forty years
             old and/or with a disability.
27
          140.     Plaintiffs represent a class consisting of all female employees at Us who have or
28
             will be employed by UPS in the United States from November 9, 2017 to the date

                                                      17
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 18 of 37



1            of judgment, as well as subclasses of all female employees who have been or will be
2            employed by UPS: (a) in the United States, and who were over forty years old, and/or
3            disabled between November 9, 2017 and the date of judgment (the “class”); (b) in

4
             California from November 9, 2017 to the date of judgment (the “California subclass”);
             (c) California from November 9, 2017 to the date of judgment (the “CEPA subclass”);
5
             and (e) in California from November 9, 2017 to the date judgment (the “California
6
             Unfair Competition” subclass).
7

8         141.    Plaintiffs also seek to represent a collective of female employees employed by
             UPS from November 9, 2017 to the date of judgment (a) who were not compensated
9
             equally to male employees who had substantially similar job classifications, functions,
10
             titles, and/or duties, (b) who were not compensated equally to male employees who
11
             performed substantially similar work and/or (c) who were denied equal compensation
12
             to similarly situated male employees by being held back to lower pay levels and/or
13
             prevented from picking up extra shifts at the same level of similarly situated male
14           employees who performed substantially similar work.
15
                  VIII. CLASS ALLEGATIONS UNDER RULE 23 OF THE FEDERAL
16
                           RULES OF CIVIL PROCEDURE
17
          142.   UPS tolerates and cultivates a work environment that discriminates against female
18
             employees, in particular those who are who are over forty years old and/or with a
19
             disability.
20
          143.   Female employees, who are over forty years old and/or with a disability are
21
             subjected to continuing unlawful disparate treatment in pay and work opportunities.
22           Moreover, UPS’ policies and procedures have an ongoing disparate impact on female
23           employees, who are over forty years old and/or with a disability.
24        144.   UPS maintains policies and methods of scheduling employees that promote
25           gender- based inequities in compensation, and policies and methods for

26           advancement that lead to gender-based unequal promotion. UPS’ discriminatory
             policies, practices, and procedures include a system where women who are over forty
27
             years old and/or with a disability are denied opportunities for advancement at UPS, as
28
             well as the opportunity to work additional shifts afforded to their male colleagues.

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     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 19 of 37



1         145.   UPS’ nationwide practices, policies, and procedures result in lower compensation
2            for female employees than similarly situated male employees.
3         146.   In general, the policies, practices, and procedures that govern the pay and

4
             promotions of female employees lack the sufficient standards, quality controls,
             implementation metrics, transparency, and oversight to ensure equal opportunity at
5
             UPS.
6
          147.   Because UPS’ management does not provide sufficient oversight or safety
7
             measures to protect against intentional and overt discrimination or the disparate impact
8
             of facially neutral policies and procedures, female employees suffering from
9            discrimination are without recourse. Whatever complaint and compliance policies may
10           exist, lack meaningful controls, standards, implementation metrics, and means of
11           redress such that upper management may ignore, disregard, minimize, cover up,
12           mishandle, or otherwise fail to properly respond to evidence of discrimination in the

13
             workplace.
          148.   UPS’ policies, practices, and procedures are not valid, job-related, or justified by
14
             business necessity. Alternative, objective, and more valid procedures are available to
15
             UPS that would avoid such a disparate impact on female employees. UPS has failed or
16
             refused to use such alternative procedures.
17
          149.   Upon information and belief, UPS’ discriminatory employment practices, policies,
18           and procedures are centrally established and implemented at the highest levels of UPS.
19        150.   Upon information and belief, UPS’ employment policies, practices, and
20           procedures are not unique or limited to any location; rather, they apply uniformly and
21           systematically to employees throughout UPS, occurring as a pattern and practice

22
             throughout all locations.
          151.   Because of UPS’ systemic pattern and practice of gender discrimination, the
23
             Plaintiffs and members of the proposed Class have suffered harm including lost
24
             compensation, back pay, employment benefits, and emotional distress.
25
          152.   The Plaintiffs and members of the Class have no plain, adequate, or complete
26
             remedy at law to redress the rampant and pervasive wrongs alleged herein, and this
27           suit is their only means of securing adequate relief. The Plaintiffs and members of
28           the Class have suffered and are now suffering irreparable injury from UPS’ ongoing,


                                                   19
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 20 of 37



1            unlawful policies, practices, and procedures set forth herein, and they will continue to
2            suffer unless those policies, practices, and procedures are enjoined by this Court.
3
                 A. Rule 23 Class Definition
4
          153.   The proposed Rule 23 Class consists of all female employees who are, have been,
5
             or will be employed by UPS in the United States from November 9, 2017 until the date
6
             of judgment. Upon information and belief, there are more than 40 members of the
7
             proposed Class.
8
          154.   Plaintiffs also seek to represent subclasses of female employees who are, have been
9            or will be employed at UPS in: (a) in the United States, and who have been or will
10           reach forty-years of age and/or become disabled from November 9, 2017 and the date
11           of judgment (the “class”).
12        155.   Plaintiffs are each member of the Class and subclass.

13
          156.   The systemic gender discrimination described in this Complaint has been, and is,
             continuing in nature.
14
          157.   Plaintiffs reserve the right to amend the class definitions based on discovery
15
             or legal developments.
16

17
                  B. Efficiency of Class Prosecution of Class Claims
18

19        158.   Certification of the proposed classes and sub-classes is the most efficient and
20           economical means of resolving the questions of law and fact that are common to the

21           claims of the Plaintiffs and the Class.

22
          159.   The individual claims of Plaintiffs, as Class Representatives, require resolution of
             the common questions concerning whether UPS has engaged in a pattern and/or
23
             practice of gender discrimination against its female employees, particularly against
24
             women who are over forty and/or disabled, and whether its policies or practices have
25
             an adverse effect on the Class. Class Representatives seek remedies to eliminate the
26
             adverse effects of such discrimination in their own lives, careers, and working
27           conditions and in the lives, careers, and working conditions of the Class members,
28           and to prevent UPS’ continued gender discrimination.


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     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 21 of 37



1         160.   The Class Representatives have standing to seek such relief because of the adverse
2            effect that such discrimination has on them individually and on female employees
3            generally. UPS caused Plaintiffs’ injuries through its discriminatory practices, policies,

4
             and procedures and through the disparate impact its policies, practices, and procedures
             have on female employees. These injuries are redressable through systemic relief, such
5
             as equitable and injunctive relief and other remedies sought in this action. In addition,
6
             proper relief for Plaintiffs’ individual discrimination claims can include promotion and
7
             increased compensation. Plaintiffs have a personal interest in the policies, practices,
8
             and procedures implemented at UPS
9         161.   To obtain relief for themselves and the Class members, the Class Representatives
10           will first establish the existence of systemic gender discrimination as the premise for
11           the relief they seek. Without class certification, the same evidence and issues would be
12           subject to re-litigation in a multitude of individual lawsuits with an attendant risk of

13
             inconsistent adjudications and conflicting obligations.
          162.   Certification of the proposed Class is the most reasonable and efficient means of
14
             presenting the evidence and arguments necessary to resolve such questions for the
15
             Class Representatives, the Class members and UPS.
16

17
                 C. Numerosity and Impracticability of Joinder
18

19        163.   The Class that the Class Representatives seek to represent is so numerous that
20           joinder of all members is impracticable. In addition, joinder is impractical as the
21           employees are physically based in different locations throughout the United States and

22
             California. Fear of retaliation on the part of UPS’ female employees is also likely to
             undermine the possibility of joinder.
23

24                D. Common Questions of Law and Fact
25
          164.   The prosecution of the claims of the Class Representatives will require the
26
             adjudication of numerous questions of law and fact common to their individual claims
27           and those of the Class they seek to represent.
28        165.   The common issues of law include, inter alia: (a) whether UPS has engaged in


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     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 22 of 37



1            unlawful, systemic gender discrimination in its work assignment, promotion, and
2            compensation policies, practices, and procedures; (b) whether the failure to institute
3            adequate standards, quality controls, implementation metrics or oversight of those

4
             policies, practices, and procedures violates Title VII, the FEHA, or the CEPA,
             and/or other statutes; (c) whether the lack of transparency and opportunities for redress
5
             in those systems violates Title VII, the FEHA, the CEPA, and/or other statutes; (d) a
6
             determination of the proper standard for proving whether UPS’ employment policies
7
             had a disparate impact on the Class and Sub- Class; (e) a determination of the proper
8
             standards for proving a pattern or practice of discrimination by UPS against its female
9            employees, and under the disparate treatment theory of liability for employees; (f)
10           whether UPS’ failure to prevent, investigate, or properly respond to evidence and
11           complaints of discrimination in the workplace violates Title VII and other statutes; and
12           (g) whether UPS is liable for continuing systemic violations of Title VII and other

13
             statutes.
          166.   The common questions of fact include, inter alia: whether UPS has: (a)
14
             intentionally held back female employees who are over 40 and/or disabled on its pay
15
             scale because UPS does not give equal opportunities to work additional shifts; (b) used
16
             a compensation system that lacks appropriate standards, implementation metrics,
17
             quality controls, transparency, and opportunities for redress; (c) relied on
18           compensation criteria that perpetuate discrimination; (d) compensated female
19           employees less than similarly-situated male employees in salary and/or promotions;
20           (e) minimized, ignored, or covered-up evidence of gender discrimination in the
21           workplace and/or otherwise mishandled the investigation of and response to complaints

22
             of discrimination; (f) cultivated an indifference to evidence of discrimination in the
             workplace or otherwise minimized, ignored, mishandled, or covered up evidence of or
23
             complaints of gender discrimination; and (g) otherwise discriminated against female
24
             employees, especially those who are over forty and/or disabled, in the terms and
25
             conditions of employment.
26
          167.   Upon information and belief, UPS’ employment policies, practices, and
27           procedures are not unique or limited to any location; rather, they apply uniformly and
28           systematically to employees throughout UPS, occurring as a pattern and practice


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     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 23 of 37



1            throughout all locations. They thus affect the Class Representatives and Class members
2            in the same ways regardless of the location in which they work. Discrimination in
3            compensation occurs as a pattern and practice throughout UPS.

4
                  E. Typicality of Claims and Relief Sought
5
          168.    The Class Representatives’ claims are typical of the claims of the proposed
6
             Class. The Class Representatives possess and assert each of the claims they assert on
7            behalf of the proposed Class. They pursue the same factual and legal theories and seek
8            similar relief.
9         169.    Like members of the proposed Class and Sub-Classes, the Class Representatives are
10           female employees who were employees of UPS during the liability period and who were

11
             over forty and/or disabled during the liability period.
          170.    Differential treatment between male and female employees occurs as a pattern and
12
             practice throughout UPS. UPS discriminates against female employees, especially
13
             those who are over forty and/or disabled, in compensation and promotion and subjects
14
             them to a work culture predominated by men. This differential treatment has affected
15
             the Class Representatives and the Class members in the same or similar ways.
16        171.    UPS has failed to respond adequately or appropriately to evidence and complaints
17           of discrimination. The Class Representatives and Class members have been affected
18           in the same or similar ways by UPS’ failure to implement adequate procedures to
19           detect, monitor, and correct this pattern and practice of discrimination.

20        172.    UPS has failed to create adequate procedures to ensure its management
             complies with equal employment opportunity laws regarding each of the policies,
21
             practices, and procedures referenced in this Complaint, and UPS has failed to
22
             discipline adequately supervisors when they violate anti-discrimination laws. These
23
             failures have affected the Class Representatives and the Class members in the same or
24
             similar ways.
25        173.    The relief necessary to remedy the claims of the Class Representatives is the same
26           as that necessary to remedy the claims of the proposed Class members.
27        174.    The Class Representative seeks the following relief for their individual claims and
28           for the claims of the members of the proposed Classes: (a) a declaratory judgment that



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     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 24 of 37



1            UPS has engaged in systemic gender discrimination against female employees by (i)
2            denying work opportunities to female employees who are over forty and/or disabled
3            and on the basis of gender, (ii) paying female who are over forty and/or disabled less

4
             than their male counterparts in base compensation, (iii) failing to investigate or respond
             to evidence of discrimination in the workplace against female employees, especially
5
             those who are over forty and/or disabled, and (iv) otherwise exposing female
6
             employees, especially those who are over forty and/or disabled, to differential
7
             treatment; (b) a permanent injunction against such continuing discriminatory conduct;
8
             (c) injunctive relief that effects a restructuring of UPS’ policies, practices, and
9            procedures for promoting and awarding compensation to female employees; (d)
10           equitable relief that effects a restructuring of UPS compensation system so female
11           employees receive the compensation they would have been paid in the absence of
12           UPS’ discrimination; (e) back pay, front pay, reinstatement, and other equitable

13
             remedies necessary to make female employees whole from UPS’ past discrimination;
             (f) compensatory damages; (g) punitive damages to deter UPS from engaging in
14
             similar discriminatory practices in the future; and (h) employees’ fees, costs, and
15
             expenses.
16

17

18               F. Adequacy of Representation
19
          175.   The Class Representatives’ interests are coextensive with those of the members
20
             of the proposed Class. The Class Representatives seek to remedy UPS’
21           discriminatory policies, practices, and procedures so female employees, and those
22           over forty and/or disabled, will not receive disparate pay and differential treatment.
23        176.   The Class Representatives are willing and able to represent the proposed Class

24           fairly and vigorously as they pursue their similar individual claims in this action.
          177.   The Class Representatives have retained counsel sufficiently qualified,
25
             experienced, and able to conduct this litigation and to meet the time and fiscal demands
26
             required to litigate an employment discrimination class action of this size and
27
             complexity. The combined interests, experience, and resources of the Class
28
             Representatives and their counsel to litigate competently the individual and class


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     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 25 of 37



1            claims at issue in this case clearly satisfy the adequacy of representation requirement
2            of Federal Rule of Civil Procedure 23(a)(4).
3
                  G. Requirements of Rule 23(b)(2)
4
          178.   UPS has acted on grounds generally applicable to the Class Representatives and
5
             the proposed Class by adopting and following systemic policies, practices, and
6
             procedures that discriminate on the basis of gender, age and disability. Gender
7
             discrimination is UPS’ standard operating procedure rather than a sporadic occurrence.
8
          179.   UPS has also acted or refused to act on grounds generally applicable to the Class
9            Representatives and the proposed Class by, inter alia: (a) using a scheduling system
10           that systematically intentionally,    or   knowingly disadvantages        women;     (b)
11           systematically, intentionally, or knowingly denying work opportunities for women in
12           favor of similarly situated males; (c) using a scheduling system that lacks meaningful

13
             or appropriate standards, implementation metrics, quality controls, transparency, and
             opportunities for redress: (d) compensating women less than similarly situated males
14
             in salary; (e) systematically, intentionally, or knowingly compensating women less
15
             than similarly situated male employees, including less base salary; (f) minimizing,
16
             ignoring, or covering up evidence of gender, age and disability discrimination in the
17
             workplace and/or otherwise mishandling the investigation of and response to
18           complaints of discrimination; (g) cultivating an indifference to evidence of
19           discrimination in the workplace or otherwise minimizing, ignoring, mishandling, or
20           covering up evidence of or complaints of gender, age, and disability discrimination:
21           and (h) otherwise discriminating against women in the terms and conditions of

22
             employment as employees.
          180.   UPS’ policies, practices, and procedures with respect to compensation have led
23
             to gender, age, and disability discrimination and stratification. The systemic means of
24
             accomplishing such gender-based stratification include, but are not limited to, UPS’
25
             policies, practices, and procedures for awarding base compensation, bonus pay, and
26
             opportunities to take on extra shifts to female employees. These practices and
27           procedures all suffer from a lack of transparency. adequate quality standards, and
28           controls; sufficient implementation metrics; and opportunities for redress or challenge.


                                                   25
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 26 of 37



1         181.   UPS’ systemic discrimination and refusals to act on nondiscriminatory grounds
2            justify the requested injunctive and declaratory relief with respect to the Class as a
3            whole.

4
          182.   Injunctive, declaratory, and affirmative relief are a predominant form of relief
             sought in this case. Entitlement to declaratory, injunctive, and affirmative relief flows
5
             directly and automatically from proof of UPS’ systemic gender discrimination. In
6
             turn, entitlement to declaratory, injunctive, and affirmative relief forms the factual and
7
             legal predicate for recovery by the Class Representatives and Class members of
8
             monetary and non-monetary remedies for individual losses caused by the systemic
9            discrimination, as well as their recovery of compensatory and punitive damages.
10
                  H. Requirements of Rule 23(b)(3)
11

12        183.   The common issues of fact and law affecting the claims of the Class

13
             Representatives and proposed Class members—including, but not limited to, the
             common issues identified above— predominate over any issues affecting only
14
             individual claims. The common issues include whether UPS has engaged in gender,
15
             age, and disability discrimination against female employees.
16
          184.   A class action is superior to other available means for fairly and efficiently
17
             adjudicating the claims of the Class Representatives and members of the proposed
18           Class.
19        185.   By virtue of the pattern and practice of discrimination at UPS, the Class
20           Representatives and Class members are eligible for monetary remedies for losses
21           caused by the systemic discrimination, including back pay, front pay, reinstatement,

22
             compensatory damages and other relief.
          186.   Additionally, or in the alternative, the Court may grant “partial” or “issue”
23
             certification under Rules 23(c)(4). Resolution of common questions of fact and law
24
             would materially advance the litigation for all Class members.
25

26               IX.    COLLECTIVE ALLEGATIONS UNDER THE EQUAL PAY ACT

27        187.   Plaintiffs incorporate all allegations of the Complaint alleging class-based
28           discrimination.


                                                    26
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 27 of 37



1         188.   Plaintiffs bring collective claims under the Equal Pay Act pursuant to Section 16(b)
2            of the Fair Labor Standards Act (FLSA), 29 U.S.C. § 216(b), on behalf of all members
3            of the EPA Collective Action. The EPA Action includes female employees (a) who

4
             were not compensated equally to male employees who had substantially similar job
             classifications, functions, titles, and/or duties, (b) who were not compensated equally
5
             to male employees who performed substantially similar work, and/or (c) who were
6
             denied equal compensation to similarly situated male employees by being held back
7
             to lesser pay levels than male employees who performed substantially similar work
8
             and had substantially similar experience.
9         189.   Plaintiffs and the Collective Action members are similarly situated with respect
10           to their claims that UPS paid and promoted them less than their male counterparts.
11        190.   There is a common nexus of fact and law suggesting that Plaintiffs and the
12           Collective Action members were discriminated against in the same manner. Questions

13
             at issue in the case include:
                     a) Whether UPS unlawfully awarded less in base pay to female employees
14
                         than to similarly qualified male employees;
15
                     b) Whether UPS unlawfully awarded less in bonuses to female employees
16
                         than similarly qualified male employees;
17
                     c) Whether UPS unlawfully assigned and continues to assign employees
18                       into positions with lesser pay and other compensation than similarly
19                       qualified male employees;
20                   d) Whether UPS’ r e s u l t i n g failure to compensate female employees on
21                       a par with comparable male employees was willful within the meaning

22
                         of the EPA.

23
          191.   Counts for violations of the EPA may be brought and maintained as an “opt-in”
24
             collective action pursuant to 29 U.S.C. § 216(b), for all claims asserted by the EPA
25
             Collective Action Plaintiffs who opt-in to this action because the claims of the
26
             Plaintiff are similar to the claims of the EPA Collective Action Class.
27        192.   Plaintiffs and the EPA Collective Action Plaintiffs (a) are similarly situated; (b)
28           have substantially similar job classifications, functions, titles, and/or duties; and (c)


                                                    27
     CLASS AND COLLECTIVE ACTION COMPLAINT
               Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 28 of 37



1              are subject to UPS’ common policy and practice of gender discrimination in failing
2              to compensate female employees commensurate with compensation given to male
3              employees who perform substantially equal work.

4
                      X.    COUNTS
5
                        CLASS AND COLLECTIVE COUNTS
6

7                       COUNT 1

8
     VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. §
9    2000(e) et seq.,
10
                      On Behalf of Class Representatives and all Subclass Members
11

12         193.    Plaintiffs re-allege and incorporate each and every allegation in this Complaint.

13
           194.    This Count is brought on behalf of the Class Representatives and all members
               of the subclass.
14
           195.    UPS has discriminated against Class Representatives and all members of the
15
               subclass in violation of Title VII by subjecting them to different treatment on the
16
               basis of their gender, including age and disability. The members of the Class have
17
               been disparately impacted and disparately treated as a result of UPS’ wrongful
18             conduct and its policies, practices, and procedures.
19         196.    UPS has discriminated against the subclass members by treating them
20             differently from and less preferably than similarly situated male employees and

21             female employees, who appear masculine, and by subjecting them to differential and

22
               substandard terms and conditions of employment including but not limited to
               discriminatory denials of fair compensation, discriminatory denials of promotional
23
               opportunities, and discriminatory treatment with respect to leave, work
24
               responsibilities, and other terms and conditions of employment in violation of Title
25
               VII.
26
           197.    UPS’ conduct has been intentional, deliberate, willful, malicious, reckless, and
27             conducted in callous disregard of the rights of Class Representatives and the
28             members of the proposed subclass, entitling the Class Representatives and the


                                                     28
     CLASS AND COLLECTIVE ACTION COMPLAINT
                  Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 29 of 37



1                 members of the subclass to punitive damages.
2              198.   As a result of UPS’ conduct alleged in this Complaint, Class Representatives
3                 and the members of the subclass have suffered and continue to suffer harm,

4
                  including but not limited to lost earnings, lost benefits, and other financial loss, as
                  well as humiliation, embarrassment, emotional and physical distress, and mental
5
                  anguish.
6
               199.   By reason of UPS’ discrimination, Class Representatives and members of the Sub-
7
                  Class are entitled to all legal and equitable remedies available for violations of Title
8
                  VII, including an award of punitive damages.
9              200.   Employees’ fees should be awarded under 42 U.S.C. § 2000e-5(k).
10
                       COUNT 2
11

12   VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. § 2000(e)

13
     et seq.

14                    GENDER DISCRIMINATION
15
                  On Behalf of Class Representatives and all Class Members
16

17             201.   Plaintiffs re-allege and incorporate each and every allegation in this Complaint.
               202.   This Count is brought on behalf of the Class Representatives and all members of the
18
                  Class.
19
               203.   UPS, an employer of Class Representatives and Class Members within the
20
                  meaning of Title VII, has discriminated against the Class Representatives and the Class
21
                  Members in violation of Title VII by subjecting them to different treatment on the basis
22                of their gender, including by engaging in intentional disparate treatment, and by
23                maintaining uniform policies and practices that have an adverse, disparate impact on
24                them.
25             204.   UPS has engaged in an intentional, company-wide and systemic policy, pattern,

26                and/or practice of discrimination against Class Representatives and the Class by, among
                  other things: maintaining a discriminatory system of determining compensation;
27
                  maintaining a discriminatory system for promotions; discriminating against Class
28
                  Representatives and Class members in pay and promotions; discriminatory denials

                                                         29
     CLASS AND COLLECTIVE ACTION COMPLAINT
              Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 30 of 37



1             of development opportunities; and other forms of discrimination.
2          205.   These foregoing common policies, practices, and/or procedures have produced
3             an unjustified disparate impact on Class Representatives and the Class with respect to

4
              the terms and conditions of their employment.
           206.   As a result of this disparate treatment and disparate impact discrimination, UPS
5
              has treated Class Representatives and the Class differently from and less preferentially
6
              than similarly situated male employees with respect to pay and promotions.
7
           207.   UPS has failed to prevent, to respond to, to investigate adequately, and/or to
8
              appropriately resolve this gender discrimination.
9          208.   UPS’ conduct has been intentional, deliberate, willful, malicious, reckless, and
10            conducted in callous disregard of the rights of the Class Representatives and the Class,
11            entitling the Class Representatives and all members of the Class to punitive damages.
12         209.   By reason of the continuous nature of UPS’ discriminatory conduct, which

13
              persisted throughout the employment of the Class Representatives and the Class, the
              Class Representative and all members of the class are entitled to application of the
14
              continuing violations doctrine to all violations alleged herein.
15
           210.   By reason of UPS’ discrimination, the Class Representatives and the Class are
16
              entitled to all legal and equitable remedies available for violations of Title VII.
17
           211.   As a result of UPS’ conduct alleged in this Complaint, the Class Representatives and
18            the Class have suffered and continue to suffer harm, including but not limited to lost
19            earnings, lost benefits, and other financial loss, including interest.
20         212.   As a further result of UPS’ unlawful conduct, the Class Representatives and the
21            Class have suffered and continue to suffer, inter alia, impairment to their name and

22
              reputation, humiliation, embarrassment, emotional and physical distress, and mental
              anguish. Class Representative and the Class are entitled to recover damages for such
23
              injuries from UPS under Title VII.
24
           213.   Employees’ fees and costs should be awarded under 42 U.S.C. § 2000e-5(k).
25

26                 COUNT 3

27   VIOLATION OF CALIFORNIA FAIR EMPLOYMENT AND HOUSING ACT, Cal. Gov.
28   Code § 12940, et seq.


                                                     30
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 31 of 37



1                 GENDER DISCRIMINATION
2
                  On behalf of Plaintiffs and the California Subclass Members
3

4
          214.   Plaintiffs re-allege and incorporate each and every allegation in this Complaint.
          215.   This Count is brought on behalf of Plaintiffs in their individual and representative
5
             capacities, and all members of the California subclass.
6
          216.   UPS has discriminated against Plaintiffs and the California subclass in violation of
7
             the FEHA by subjecting them to different treatment because and on the basis of their
8
             gender, and where they are over age forty and/or disabled, including by engaging in
9            intentional disparate treatment, and by maintaining uniform policies and practices that
10           have an adverse, disparate impact on them.
11        217.   UPS has engaged in an intentional, company-wide and system policy, pattern,
12           and/or practice of discrimination against plaintiffs and the California subclass by,

13
             among other things: maintaining a discriminatory system for scheduling, maintaining a
             discriminatory system for work assignments, unwarrantedly suppressing pay,
14
             promotions, and professional development for women who are over forty and/or
15
             disabled, and other forms of discrimination.
16
          218.   These foregoing common policies, practices, and/or procedures have produced
17
             an unjustified disparate impact on Plaintiffs and the members of the California
18           subclass with respect to the terms and conditions of their employment.
19        219.   As a result of this disparate treatment and disparate impact discrimination, UPS
20           has treated Plaintiffs and California subclass differently from and less preferentially
21           than similarly situated male employees and female employees who appear masculine,

22
             with respect to pay and promotions.
          220.   UPS has failed to prevent, respond to, adequately investigate, and/or appropriately
23
             resolve this gender discrimination.
24
          221.   UPS’ conduct has been intentional, deliberate, willful, malicious, reckless, and
25
             conducted in callous disregard of the rights of the Class Representatives and all
26
             members of the California subclass, entitling the Class Representatives and all
27           members of the California subclass to punitive damages.
28        222.   As a result of UPS’ conduct alleged in this Complaint, Class Representatives and


                                                   31
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 32 of 37



1            the California subclass have suffered and continue to suffer harm, including but not
2            limited to, lost earnings, lost benefits, lost future employment opportunities, and other
3            financial loss, as well as non-economic damages.

4
          223.   By reason of the continuous nature of UPS’ discriminatory conduct, which
             persisted throughout the employment of the Class Representatives and the members
5
             of the California subclass, the continuing violations doctrine applies to all violations
6
             alleged herein.
7
          224.   By reason of UPS’ discrimination, Class Representatives and the members of the
8
             California subclass are entitled to all legal and equitable remedies available for
9            violations of the FEHA, including reinstatement and an award of compensatory and
10           punitive damages.
11        225.   Employees’ fees should be awarded under Cal. Gov’t Code § 12940.
12
                  COUNT 4
13
      VIOLATION OF THE FAIR LABOR STANDARDS ACT OF 1938, as amended by THE
14
     EQUAL PAY ACT OF 1963, 29 U.S.C. § 216(b)
15

16         DENIAL OF EQUAL PAY FOR EQUAL WORK

17
          On Behalf of Class Representatives and the EPA Collective Action Plaintiffs
18
          226.   Plaintiffs re-allege and incorporate each and every allegation in this Complaint.
19
          227.   This Count is brought on behalf of Plaintiffs and the EPA Collective Action,
20
             including all EPA Collective Action Plaintiffs who “opt-in” to this action.
21
          228.   UPS has discriminated against Plaintiffs and all EPA Collective Action Plaintiffs
22           within the meaning of the Equal Pay Act of 1963 in violation of the Fair Labor Standards
23           Act of 1938, 29 U.S.C. §§ 206, et seq., as amended by the EPA, by providing them with
24           a lower rate of pay than similarly situated male colleagues on the basis of their gender,
25           female, even though Plaintiffs and all others similarly situated performed similar duties

26           requiring the same skill, effort, and responsibility as their male counterparts.
          229.   Plaintiffs, all EPA Collective Action Plaintiffs, and similarly situated male
27
             employees all perform similar job duties and functions. Plaintiffs, all EPA Collective
28
             Action Plaintiffs, and similarly situated male employees all performed jobs that

                                                    32
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 33 of 37



1            required equal skill, effort, and responsibility.
2         230.    UPS discriminated against Plaintiffs and all EPA Collective Action Plaintiffs by
3            subjecting them to discriminatory pay in violation of the Equal Pay Act.

4
          231.    The differential in pay between male and female employees was not due to a
             legitimate seniority, merit, quantity or quality of production, or a factor other than sex,
5
             but was due to gender.
6
          232.    UPS caused, attempted to cause, contributed to, or caused the continuation of pay
7
             discrimination based on gender, in violation of the EPA. The foregoing conduct
8
             constitutes a willful violation of the EPA within the meaning of 29 U.S.C. § 255(a).
9            Because UPS has willfully violated the EPA, a three-year statute of limitations applies
10           to such violations, pursuant to 29 U.S.C. § 255.
11        233.    As a result of UPS’ conduct as alleged in this Complaint, Plaintiffs and all
12           EPA Collective Action Plaintiffs have suffered and continue to suffer harm, including

13
             but not limited to lost earnings, lost benefits, and other financial loss, as well as
             humiliation, embarrassment, emotional and physical distress, and mental anguish.
14
          234.    By reason of UPS’ discrimination, Plaintiffs and all EPA Collective Action
15
             Plaintiffs are entitled to all legal and equitable remedies available for violations of
16
             the EPA, including liquidated damages, interest, and other compensation pursuant to
17
             29 U.S.C. § 216(b).
18        235.    Employees’ fees should be awarded under 29 U.S.C. §216(b).
19
                  COUNT 5
20

21   VIOLATION OF THE CALIFORNIA EQUAL PAY ACT, as amended by THE

22
     CALIFORNIA FAIR PAY ACT, Cal. Lab. Code § 1197.5, et seq.; CALIFORNIA EQUAL
     PAY ACT, Cal. Lab. Code § 1197.5
23

24        DENIAL OF EQUAL PAY FOR EQUAL & SUBSTANTIALLY SIMILAR WORK
25
                 On behalf of Plaintiffs and the CEPA Subclass
26
          236.    Plaintiffs re-allege and incorporate each and every allegation in this Complaint.
27
          237.    This Count is brought on behalf of Plaintiffs in their individual and representative
28
             capacities, and all members of the CEPA subclass.

                                                     33
     CLASS AND COLLECTIVE ACTION COMPLAINT
             Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 34 of 37



1         238.   UPS has discriminated against the Plaintiffs and all members of the CEPA
2            subclass in violation of the California Equal Pay Act, Cal. Lab. Code § 1197.5 (West
3            2015) (amended 2015), et seq. UPS has paid Class Representative and members of the

4
             CEPA subclass less than similarly situated male employees in the same establishment
             performing equal work on jobs the performance of which requires equal skill, effort,
5
             and responsibility, and which are performed under similar working conditions.
6
          239.   UPS has discriminated against the Plaintiffs and the CEPA subclass in violation
7
             of the California Equal Pay Act, Cal. Lab. Code § 1197.5 et seq. UPS has paid
8
             Class Representatives and members of the class less than similarly situated male
9            employees performing substantially equal work, when viewed as a composite of skill,
10           effort, and responsibility, and performed under similar working conditions.
11        240.   UPS subjected Class Representatives and the members of the CEPA subclass to
12           common discriminatory pay policies, including maintaining a discriminatory system of

13
             determining compensation; maintaining a discriminatory system for promotions; and
             other forms of discrimination affecting pay.
14
          241.   The differential in pay between male and female employees was not due to seniority,
15
             merit, or the quantity or quality of production, a bona fide factor other than sex, such
16
             as education, training, or experience, but was due to gender. In the alternative, to the
17
             extent that UPS relied upon one or more of these factors, said factor(s) were not
18           reasonably applied and did/do not account for the entire wage differential.
19        242.   The foregoing conduct constitutes a willful violation of the California Equal Pay
20           Act, Cal. Lab. Code §1197.5 et seq., as amended by the California Fair Pay Act.
21           Therefore, a three-year statute of limitations applies to such violations, pursuant to

22
             California Equal Pay Act, Cal. Lab. Code § 1197.5(h), et seq., and California Equal
             Pay Act, as amended by the California Fair Pay Act, Cal. Lab. Code 23 §1197.5(h).
23
          243.   As a result of UPS’ conduct alleged in this Complaint and/or UPS’ willful, knowing,
24
             and intentional discrimination, the CEPA subclass members have suffered and will
25
             continue to suffer harm, including but not limited to lost earnings, lost benefits, and
26
             other financial loss, as well as non-economic damages.
27        244.   Plaintiffs and the CEPA subclass are therefore entitled to all legal and equitable
28           remedies, including doubled compensatory awards for all willful violations.


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     CLASS AND COLLECTIVE ACTION COMPLAINT
              Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 35 of 37



1          245.   Employees’ fees should be awarded under California Labor Code § 1197.5(g).
2
                  COUNT 6
3

4
     VIOLATION OF CALIFORNIA BUSINESS AND PROFESSIONS CODE, Cal. Bus. &
     Prof. Code § 17200 et seq.
5

6            UNFAIR COMPETITION
7
             On behalf of Plaintiffs and the California Unfair Competition Subclass
8
           246.   Plaintiffs re-allege and incorporate each and every allegation in this Complaint.
9
           247.   This Count is brought on behalf of Plaintiffs in their individual and representative
10
               capacities, and all members of the California Unfair Competition subclass.
11
           248.   UPS is a “person” as defined under California Business & Professions Code §
12
               17201.
13         249.   UPS’ willful failure to pay women equally, to promote women equally, and
14             otherwise to offer women equal employment opportunities as alleged above,
15             constitutes unlawful, unfair and/or fraudulent activity prohibited by California
16             Business and Professions Code §17200. As a result of its unlawful, unfair and/or

17             fraudulent acts, UPS reaped and continues to reap unfair benefits and illegal profits
               at the expense of Plaintiffs and the California Unfair Competition subclass. UPS
18
               should be enjoined from this activity.
19
           250.   Accordingly, Plaintiff and the California Unfair Competition subclass members are
20
               entitled to restitution with interest and other equitable relief, pursuant to Business &
21
               Professions Code §17203.
22
                                          PRAYER FOR RELIEF
23

24                Wherefore, Plaintiffs, on their own behalf and on behalf of the Class, Subclasses,
25   and EPA Collective Action, request the following relief:

26
        a. Acceptance of jurisdiction of this case;
27      b. Certification of this case as a class action under Federal Rule of Civil Procedure 23, on
28          behalf of the proposed Plaintiff Class and Subclasses, designation of the proposed Class


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     CLASS AND COLLECTIVE ACTION COMPLAINT
              Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 36 of 37



1          Representatives as representatives of this Class and Subclasses, and designation of
2          Plaintiffs’ counsel of record as Class Counsel;
3       c. Designation of this action as a collective action on behalf of the proposed EPA Collective

4
           Plaintiffs (asserting EPA claims) and:
              i. promptly issuing notice pursuant to 29 U.S.C. § 216(b) to all similarly situated
5
                members of the EPA Opt-In Class, which (a) apprises them of the pendency of this
6
                action and (b) permits them to assert timely EPA claims in this action by filing
7
                individual Consent to Sue forms pursuant to 29 U.S.C. § 216(b); and
8
              ii. tolling the statute of limitations on the claims of all members of the EPA Opt-In
9               Class from the date the original Complaint was filed until the Class members are
10              provided with reasonable notice of the pendency of this action and a fair opportunity
11              to exercise their right to opt in as Plaintiffs;
12      d. Designation of Plaintiffs as representatives of the EPA Collective Action;

13
        e. A declaratory judgment that the practices complained of therein are unlawful and violate,
           among other laws, 42 U.S.C. § 2000(e) et seq., as amended; 29 U.S.C. § 2601, et seq.; 29
14
           U.S.C. § 206, et seq.; Cal. Gov. Code § 12940 et seq.; Cal. Gov. Code § 12945.2; Cal.
15
           Labor Code section 1197.5 et seq.; and Cal. Bus. & Prof. Code § 17200 et seq.;
16
        f. A permanent injunction against UPS and its partners, officers, owners, agents, successors,
17
           employees, representatives and any and all persons acting in concert with them, from
18         engaging in any further unlawful practices, policies, customs and usages set forth therein.
19      g. An Order requiring UPS to initiate and implement programs that (i) remedy the hostile
20         work environment at UPS; (ii) ensure prompt, remedial action regarding all claims of
21         gender, age, and disability discrimination; and (iii) eliminate the continuing effects of the

22
           discrimination and retaliatory practices described therein;
        h. An Order requiring UPS to initiate and implement systems for compensating female
23
           employees in a non-discriminatory manner;
24
        i. An Order directing UPS to adjust the compensation for Class Representatives and the
25
           Class members to the level that they would be enjoying but for the UPS’ discriminatory
26
           policies, practices, and procedures;
27      j. An award of back pay, front pay, lost benefits, preferential rights to jobs, and other
28         damages for lost compensation and job benefits suffered by the Plaintiffs, Members of the


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     CLASS AND COLLECTIVE ACTION COMPLAINT
Case 3:21-cv-08722-LB Document 1 Filed 11/09/21 Page 37 of 37
